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                       Exhibit C
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN


  RICHARD PRATT and LARRY JONES,                  Case No. 21-cv-11404-TLL-PTM
  individually and on behalf of all others
  similarly situated,
                                                  Hon. Thomas L. Ludington
                      Plaintiffs,                 Mag. Judge Patricia T. Morris

          v.

  KSE SPORTSMAN MEDIA, INC.,


                      Defendant.

               DECLARATION OF FRANK S. HEDIN
           IN SUPPORT OF PLAINTIFFS’ MOTION FOR
    ATTORNEYS’ FEES, COSTS, EXPENSES, AND SERVICE AWARDS

         I, Frank S. Hedin declare under penalty of perjury, pursuant to 28 U.S.C. §

 1746 and based on my own personal knowledge, that the following statements are

 true:

         1.    I am a partner at Hedin Hall LLP and Plaintiffs’ other counsel in this

 action. I submit this declaration in support of Plaintiffs’ Motion for Attorneys’

 Fees, Costs, Expenses, And Service Awards, filed concurrently herewith.

         2.    I hereby incorporate Paragraphs 3-21, 26-29 of the Declaration of E.

 Powell Miller in support of Plaintiffs’ Motion for Attorneys’ Fees, Costs,

 Expenses, and Service Awards, filed herewith, as if fully stated herein.
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                       BACKGROUND AND EXPERIENCE

       3.     I am a member in a good standing of the Florida Bar and the State Bar

 of California; the United States District Courts for the Southern District of Florida,

 Middle District of Florida, Northern District of California, Southern District of

 California, Central District of California, Eastern District of California, Western

 District of Michigan, Eastern District of Michigan, and Western District of

 Wisconsin; and the United States Courts of Appeals for the Second Circuit,

 Seventh Circuit, and Ninth Circuit, and am admitted to practice on a pro hac vice

 basis before several other federal district courts.

       4.     I received my Bachelor of Arts from University of Michigan in 2008

 and my Juris Doctor, magna cum laude, from Syracuse University College of Law

 in 2012.

       5.     From August 2012 through November 2013, I served as law clerk to

 the Honorable William Q. Hayes, United States District Judge for the Southern

 District of California. During my clerkship with Judge Hayes, I managed half of

 the Court’s civil docket and drafted orders and opinions at all stages of litigation in

 a wide range of matters, including numerous class actions.

       6.     In early 2014, I began working as an associate attorney at Carey

 Rodriguez Milian Gonya LLP, a boutique litigation firm in Miami, Florida, where I

 focused my practice on the prosecution of consumer class actions. See, e.g.,


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 Farnham v. Caribou Coffee Co., No. 16-cv-295-wmc (W.D. Wisc.); Chimeno-

 Buzzi v. Hollister Co., et al., No. 14-23120-CIV, 2015 WL 9269266 (S.D. Fla.

 Dec. 18, 2015); Edwards v. Hearst Communications Inc., No. 15-cv-9279-AT

 (S.D.N.Y. Nov. 9, 2016); Norberg v. Shutterfly, Inc., No. 15-cv-5351 (N.D. Ill.

 Dec. 29, 2015); Rivera, et al. v. Google, Inc., No. 16-cv-2714 (N.D. Ill. Feb. 27,

 2017). I also represented both plaintiffs and defendants in intellectual property,

 employment, and general commercial litigation matters, on both hourly and

 contingent-fee arrangements. I was partner and head of the firm’s class action

 litigation practice at the time of my departure at the end of February 2018.

       7.     My partner David W. Hall and I formed Hedin Hall LLP in March

 2018. With offices in Miami, Florida and San Francisco, California, Hedin Hall

 focuses on consumer privacy and securities class actions.

       8.     My firm has successfully prosecuted dozens of consumer data-privacy

 class action lawsuits in state and federal courts nationwide as court-appointed class

 counsel, including in matters alleging claims for violation of Michigan’s

 Preservation of Personal Privacy Act (“PPPA”). E.g., Kokoszki v. Playboy

 Enterprises, Inc., No. 19-cv-10302-BAF (E.D. Mich. May 18, 2020) (class counsel

 in action alleging sale of Playboy subscribers’ personal information in violation of

 the Michigan PPPA, obtained $3.8 million non-reversionary class settlement);

 Rivera et al. v. Google, LLC, No. 2019-CH-00990 (Cir. Ct. Cook Cty. Ill., Apr. 5,


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 2022) (class counsel in action alleging violations of Illinois’s Biometric

 Information Privacy Act (“BIPA”), obtained $100 million non-reversionary class

 settlement); Olsen, et al. v. ContextLogic Inc., No. 19CH06737 (Cir. Ct. Cook Cty.

 Ill., Jan 7, 2020) (class counsel in action alleging violations of the federal

 Telephone Consumer Protection Act (“TCPA”), successfully defeated defendant’s

 motion to compel arbitration and obtained $16 million non-reversionary class

 settlement); Donahue v. Everi Payments, Inc., et al., No. 2018-CH-15419 (Cook

 Cty., Ill. Cir. Ct.) (class counsel in action alleging disclosure of consumers’ credit

 and debit card information on printed transaction receipts in violation of the federal

 Fair and Accurate Credit Transactions Act, obtained $14 million non-reversionary

 class settlement); Owens, et al. v. Bank of America, N.A., et al., No. 19-cv-20614-

 MGC (S.D. Fla.) (class counsel in action alleging the improper assessment of

 overdraft fees when accounts were not actually overdrawn, obtained $4.95 million

 class settlement); Liggio v. Apple Federal Credit Union, No. 18-cv-1059-LO (E.D.

 Va.) (class counsel in action alleging the improper assessment of overdraft fees for

 “non-recurring” debit card transactions misclassified as “recurring” debit card

 transactions, obtained $2.7 million class settlement).

       9.     My firm also represents investors in securities class actions in state

 and federal courts across the country. E.g., In re Menlo Therapeutics Inc. Sec.

 Litig., Case No. 18CIV06049 (Cal. Sup Ct., San Mateo Cty.) ($9.5 million class


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 settlement on behalf of IPO investors); In re EverQuote, Inc. Sec. Litig., (N.Y.

 Supreme, New York Cty.), Case No. 651177/2019 ($4.74 million class settlement

 on behalf of IPO investors); Plymouth Cty. Retirement System v. Impinj, Inc., et al.,

 Index No. 650629/2019 (N.Y. Sup. Ct., N.Y. Cty.) (co-lead counsel for plaintiff

 class of investors asserting Securities Act claims arising from initial and secondary

 public offerings, obtained aggregate $20 million class settlement); In re PPDAI

 Grp. Sec. Litig., (N.Y. Sup. Ct., N.Y. Cty.) ($9 million settlement for investor

 class); In re Altice USA, Inc. Sec. Litig., 711788/2018 (N.Y. Sup. Ct., Queens Cty.)

 ($4.75 million settlement for investor class); Plutte v. Sea Ltd., No. 655436/2018

 (N.Y. Sup. Ct., N.Y. Cty.) ($10.75 million settlement for investor class).

        10.     And we frequently represent indigent litigants in civil rights and

 housing matters on a pro bono basis. E.g., Groover v. U.S. Corrections, LLC, et al.,

 No. 15-cv-61902-BB (S.D. Fla. July 16, 2018) (representing plaintiff and putative

 class against country’s largest private prisoner extradition companies in Section

 1983 civil rights action alleging violations of the Eighth Amendment).

        11.     Over the past five years alone, my firm has helped recover over $350

 million in all-cash relief for the classes of consumers and investors that we have

 represented.

        12.     Attached hereto as Exhibit 1 is a current firm resume for Hedin Hall

 LLP.


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                RELEVANT PPPA LITIGATION EXPERIENCE

       13.    My firm and I have successfully litigated claims against numerous

 defendants for alleged violations of Michigan’s PPPA, beginning in 2016 with the

 action titled Edwards v. Hearst Communications, Inc. in the Southern District of

 New York, where I served as one of plaintiff’s counsel along with my co-counsel

 in this action at Bursor & Fisher, P.A.

       14.    On May 29, 2018, shortly after Mr. Hall and I founded Hedin Hall,

 and nearly two years after the July 31, 2016 effective date of the Michigan

 legislature’s amendment to the PPPA (an amendment which, inter alia, made

 “actual damages” a prerequisite to stating a claim and removed a prevailing

 plaintiff’s entitlement to statutory damages), my firm initiated Horton v. GameStop

 Corp., 380 F. Supp. 3d 679 (W.D. Mich. 2018), a PPPA class action alleging that

 the defendant had disclosed the plaintiff’s and other Michigan residents’ personal

 reading information between May 29, 2015 and July 31, 2016 (the effective date of

 the amendment to the PPPA) – in violation of the unamended version of the PPPA

 that existed up until July 30, 2016. The defendant moved to dismiss on the grounds

 that, inter alia, the complaint failed to state a claim for violation of the unamended

 PPPA because the case had been filed after the amendment’s July 31, 2016

 effective date. In successfully defeating this motion, my firm obtained the first

 decision in the country holding that, regardless of the date on which a PPPA action


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 is commenced, “the unamended [PPPA] applies to . . . claims that accrued prior to

 July 31, 2016, and, consequently, [a] plaintiff [asserting such a claim] [is] not

 required to plead actual damages.” Horton, 380 F. Supp. 3d at 683. The Horton

 decision paved the way for Plaintiffs’ Counsel’s successful prosecution of the

 instant action against KSE on behalf of the Settlement Class, because here, as in

 Horton, the Complaint alleges violations of the unamended, pre-July 31, 2016

 version of the statute, arising from Defendant’s disclosures of personal reading

 information that pre-dated the statutory amendment’s July 31, 2016 effective date.

 Indeed, invoking the pre-July 31, 2016 version of the statute in this case enabled

 Plaintiffs to seek statutory damages for the putative class, without showing “actual

 damages,” and thus was instrumental in securing the Settlement presently before

 the Court.

       15.    After obtaining the Horton decision on September 28, 2018, my firm

 and co-counsel initiated numerous additional PPPA actions against publishers of

 written materials between May and June of 2019 (sometimes referred to as “wave

 two” of PPPA litigation), further refining our skills for prosecuting such claims

 and, in the process, prevailing on other important legal issues implicated by the

 statute. E.g., Huguelet, et al. v. Maxim Inc., No. 19-cv-4452-ALC (S.D.N.Y., filed

 May 15, 2019); Kokoszki v. Playboy Enterprises, Inc., No. 19-cv-10302-BAF-

 RSW (E.D. Mich., filed Jan. 30, 2019); Chelone, et al. v. America's Test Kitchen


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 LP, No. 2:19-cv-11757-TGB-MKM (E.D. Mich., filed June 19, 2019); Lin v. Crain

 Commc'ns Inc., No. 19-cv-11889 (E.D. Mich., filed June 25, 2019); Forton v.

 TEN: Publishing Media, LLC, No. 1:19-cv-11814-JEL-PTM (E.D. Mich., filed

 June 19, 2019).

       16.    For example, in Lin v. Crain Communications, Inc., my firm brought

 the first ever PPPA class action against a Michigan-based defendant on behalf of a

 non-Michigan-resident plaintiff and a proposed nationwide class. Specifically, the

 complaint alleged that a Michigan-based company had disclosed, from its

 headquarters in Michigan, the personal reading information of the plaintiff (a

 resident of Virginia) and all of its other subscribers nationwide to third parties prior

 to July 31, 2016, in violation of the unamended version of the PPPA. The

 defendant moved to dismiss on the grounds that the PPPA only protects and is only

 enforceable by Michigan residents, to the exclusion of out-of-state residents –

 presenting an issue of first impression concerning the territorial reach of the PPPA.

 We defeated defendant’s motion, and in so doing obtained the first decision in the

 country holding that the PPPA “allow[s] non-Michigan residents to pursue claims

 against Michigan resident-defendants.” Lin, 2020 WL 248445, at *4. Although the

 extraterritoriality issue in Lin does not directly bear on the claims alleged in this

 case, my firm’s successful prosecution of the Lin action (together with our co-

 counsel) further cemented our ability to prevail on complex and novel issues under


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  the PPPA and strengthened both our knowledge of the statute and our reputation

  litigating claims under it.

        17.    In this “second wave” of PPPA litigation, which spanned from

  September 2018 (when Horton was decided) through the end of July 2019, the

  consensus across the federal judiciary and the plaintiffs and defense bars alike was

  that the statute was governed by a three-year limitation period, and it was thus

  universally understood at that time that claims for violation of the pre-amended

  version of the statute would no longer be actionable as of July 31, 2019 (three

  years after the amendment’s effective date). See Edwards, 2016 WL 6651563, at

  *1 (noting that “a three- year statute of limitations admittedly governs [the

  plaintiff’s PPPA] claims”).

        18.    Nonetheless, on June 15, 2021, nearly five years after the effective

  date of the PPPA’s amendment, and after performing an extensive pre-suit

  investigation and an in-depth legal analysis of relevant issues, including the Sixth

  Circuit’s decision in Palmer Park Square, LLC v. Scottsdale Insurance Company,

  878 F.3d 530 (6th Cir. 2017), my firm, together with our co-counsel in this case,

  initiated this action, which alleges violations of the pre-amended version of the

  statute that accrued between June 15, 2015 (six years prior to the filing of the

  action) and July 30, 2016 – based on an argument developed by my firm that the

  PPPA was actually subject to the six-year limitation period found in M.C.L. §5813,


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  rather than the three-year period found in M.C.L. § 5805(2) (which up until that

  point had been universally applied in every prior PPPA case).

        19.    On November 24, 2021, the KSE moved to dismiss the complaint on

  the ground that, inter alia, Plaintiffs’ claim was time-barred by section 5805(2)’s

  three-year limitation period. On February 15, 2022, following full briefing on the

  limitation-period question, the Court issued an opinion denying Defendant’s

  motion to dismiss in full, rejecting defendant’s argument that the three-year period

  governs PPPA claims and holding that the six-year limitation period found in

  Section 5813 governs such claims. Pratt v. KSE Sportsman Media, Inc., 586 F.

  Supp. 3d 666, 673 (E.D. Mich. 2022) (holding that “[a] six-year statute of

  limitations applies to PPPA claims”).

                            THE INSTANT LITIGATION

        20.    As discussed above, prior to initiating the instant action (or any of the

  other “third wave” PPPA cases), my firm and Class Counsel (together, “Plaintiffs’

  Counsel”) performed a lengthy, several-months-long factual investigation into

  subscriber list disclosure practices in effect during the relevant pre-July 31, 2016

  time period of KSE Sportsman Media, Inc. and other defendants. This

  investigative work began in December 2020 when my firm reviewed and analyzed

  relevant legal authorities addressing Michigan’s statutory scheme concerning

  limitation periods. Due to the confidential nature of Defendant’s alleged


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  disclosures, our pre-suit investigation into the facts underlying this case (as well as

  industry-wide list disclosure practices generally) was extensive and involved in-

  depth research into several publishing industry practices, including data appending

  and data cooperatives. Part of this research included locating and obtaining years’

  worth of archived versions of webpages containing statements made by Defendant

  and its affiliates concerning their data-sharing practices and practices of renting

  lists of its magazine subscribers, as well as historical copies of data cards reflecting

  such practices that were publicly accessible online prior to July 31, 2016.

              HEDIN HALL’S TIME AND COSTS EXPENDITURES

        21.    My firm undertook this matter, as with each of the other PPPA cases

  outlined above, on a contingency basis. My firm and I have devoted a significant

  amount of time to these matters, including to the investigation, preparation,

  prosecution, and resolution of the instant matter.

        22.    The excellent result we obtained in this case, and the efficiency with

  which we obtained it, would not have been possible without the significant

  investments of time and other resources that we made towards the prosecution of

  the PPPA actions outlined above over the better part of the past decade, which

  provided us with the knowledge, experience, and well-developed body of PPPA

  jurisprudence necessary to achieve this Settlement.

        23.    We will continue to spend time on future work in connection with the


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  fairness hearing, coordinating with JND, monitoring settlement administration, and

  responding to Settlement Class Member inquiries.

        24.    Due to the commitment of time and capital investment required to

  litigate this action and the other PPPA actions outlined above, my firm had to

  forego other consumer class-action work.

        25.    To date, my firm has expended $8,939.63 in out-of-pocket costs and

  expenses in connection with the prosecution of this case, including assisting in

  paying for full-day mediations with Chief Judge Rosen, Judge Holderman, and

  Judge Andersen. Attached as Exhibit 2 is an itemized list of those costs and

  expenses. These costs and expenses are reflected in the records of my firm and

  were necessary to prosecute this litigation. Cost and expense items are billed

  separately, and such charges are not duplicated in my firm’s billing rates.

        I declare under penalty of perjury that the above and foregoing is true and

  accurate. Executed this 17th day of October 2023 at Miami, Florida.

                                                /s Frank S. Hedin
                                                   Frank S. Hedin




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                                          FIRM RÉSUMÉ

         With offices in Miami, Florida and San Francisco, California, Hedin Hall LLP
  represents consumers and shareholders in data-privacy, financial services, and securities
  class actions in state and federal courts nationwide.
         Our firm prosecutes difficult cases aimed at redressing injuries suffered by large,

  diverse groups of people. Over the past decade alone, our work has helped secure billions of
  dollars in relief for consumers and investors and facilitated important changes in business
  practices across a wide range of industries.

                                    Representative Matters

         Notable examples of our work include:

  Consumer & Data-Privacy Matters


     •   Owens, et al. v. Bank of America, N.A., et al., No. 19-CV-20614-MGC (S.D. Fla.) (class
         counsel in overdraft fee class action, non-reversionary $4.95 million settlement
         pending final approval);
     •   Liggio v. Apple Federal Credit Union, No. 18-cv-1059-LO (E.D. Va.) (class counsel in
         overdraft fee class action, non-reversionary $2.7 million settlement granted final
         approval);
     •   Olsen, et al. v. ContextLogic Inc., No. 2019CH06737 (Ill. Cir. Ct. Jan. 7, 2020) (class
         counsel in action alleging violation of Telephone Consumer Protection Act (“TCPA”),
         non-reversionary $16 million settlement finally approved);
     •   In re Everi Holdings, Inc. FACTA Litigation, No. 18CH15419 (Ill. Cir. Ct. Jan. 7, 2020)
         (class counsel in 14 related actions alleging violations of Fair and Accurate Credit
         Transactions Act against various casino entities and common payment processor, $14
         million non-reversionary class settlement recently reached);
     •   Chimeno-Buzzi v. Hollister Co. (S.D. Fla.) (class counsel in action alleging violation of
         TCPA, non-reversionary $10 million settlement finally approved);
     •   Farnham v. Caribou Coffee Co., Inc. (W.D. Wisc.) (class counsel in action alleging
         violation of TCPA, non-reversionary $8.5 million settlement finally approved);


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     •   Lin v. Crain Communications, Inc., No. 2:19-cv-11889-VAR-APP (E.D. Mich.) (counsel
         for putative nationwide class in action alleging violation of Michigan’s Personal
         Privacy Preservation Act against Michigan-based publishing conglomerate);
     •   Norberg v. Shutterfly, Inc. (N.D. Ill.) (putative class action alleging the collection of
         individuals’ immutable “scans of face geometry” in violation of Illinois’ Biometric
         Information Privacy Act (“BIPA”));
     •   Rivera v. Google, Inc. (N.D. Ill.) (putative class action arising from Google’s alleged
         collection of individuals’ immutable “scans of face geometry” in violation of BIPA);
     •   In re Facebook Biometric Privacy Litig. (N.D. Cal.) (first-of-its-kind data privacy class
         action arising from Facebook’s alleged collection of individuals’ immutable “scans of
         face geometry” in violation of BIPA);
     •   In re: Volkswagen “Clean Diesel” Marketing, Sales Practices and Products Liability Litig.
         (N.D. Cal.) (class action alleging claims in connection with the Volkswagen diesel-
         cheating scandal, resulting in over $17 billion recovery).

  Securities Matters

     •   City of Sterling Heights General Employees’ Retirement System v. Prudential Financial,
         Inc. (D. N.J.) ($33 million settlement for class of aggrieved investors);
     •   Louisiana Municipal Police Employees’ Pension Fund v. KPMG, LLP, et al. (N.D. Ohio)
         ($32.6 million settlement for class of aggrieved investors);
     •   Cyan v. Beaver County Employees Retirement Fund, (U.S. Supreme Court) (contributed
         to certiorari, merits, and amici briefing in 9-0 plaintiffs’ victory on issues of first
         impression pertaining to concurrent jurisdiction and dual sovereignty, the PSLRA and
         SLUSA, and the Securities Act removal bar);
     •   Wiley v. Envivio, Inc., et al. (Cal. Sup. Ct., San Mateo Cnty.) ($8.5 million settlement for
         class of aggrieved investors);
     •   In re MobileIron Shareholder Litig. (Cal. Sup. Ct., Santa Clara Cnty.) ($7.5 million
         settlement for class of aggrieved investors);
     •   In re Model N Shareholder Litig. (Cal. Sup. Ct., San Mateo Cnty.) ($8.55 million
         settlement for class of aggrieved investors);
     •   Silverman v. Motorola, et al. (N.D. Ill.) ($200 million settlement for class of aggrieved
         investors);
     •   United Food and Commercial Workers Union Local 880 v. Chesapeake Energy Corp., et
         al. (W.D. Okla.) (obtained multiple favorable precedent-setting decisions related to



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         typicality, tracing, adequacy, materiality, and negative causation under the Securities
         Act of 1933);
     •   Xiang v. Inovalon Holdings, Inc., et al. (S.D.N.Y.) (obtained favorable precedent-setting
         decisions related to statute of limitations, falsity, causation, and materiality under the
         Securities Act of 1933);
     •   Buelow v. Alibaba Group Holding Ltd., et al. (Cal. Sup. Ct., San Mateo Cnty.) ($75 million
         settlement, obtained several favorable precedent-setting decisions related to statute
         of limitations, the relation-back doctrine, falsity, causation, and materiality under the
         Securities Act of 1933);
     •   In re Herald, Primeo, and Thema Funds Sec. Litig. (S.D.N.Y.) ($62.5 million settlement
         for victims of Madoff Ponzi scheme).


                              Biographies of Principal Attorneys

  Frank S. Hedin
         Frank S. Hedin manages the firm’s Miami office. He is a member in good standing of
  the Florida Bar and the State Bar of California. Mr. Hedin received his Bachelor of Arts from
  University of Michigan and his Juris Doctor, magna cum laude, from Syracuse University
  College of Law. After graduating from law school, he served for fifteen months as law clerk
  to the Honorable William Q. Hayes, United States District Judge for the Southern District of
  California. Prior to establishing Hedin Hall LLP, Mr. Hedin was a partner at a litigation
  boutique in Miami, Florida, where he represented both plaintiffs and defendants in
  consumer and data-privacy class actions, employment-related collective actions, and patent
  and trademark litigation, and served as head of the firm’s class action practice.

  David W. Hall
         David W. Hall manages the firm’s San Francisco office. Before founding Hedin Hall
  LLP, Mr. Hall managed cases for one of the largest plaintiffs’ firm in the United States, where
  he pioneered and developed, inter alia, the firm’s state court Securities Act and data privacy




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  practices. Earlier in his legal career, he served as judicial law clerk to the Honorable Irma E.
  Gonzalez, United States District Judge for the Southern District of California. Mr. Hall is a
  graduate of the University of California, Hastings College of the Law, cum laude, and the New
  England Conservatory of Music. At Hastings College of the Law, he served as Staff Editor of
  the Hastings Business Law Journal, teaching assistant in the Legal Writing & Research

  Department, and extern to the Honorable Joyce L. Kennard of the California Supreme Court.


                                           Firm Offices


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   Hedin Hall LLP: Pratt v. KSE Sportsman Media, Inc. Expenses thru 10/16/23

  Expense                                Amount
  Marketing costs and fees               $5,120.88
  Mediation                              $3,818.75
                                  Total: $8,939.63
